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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:17-CR-21 JCM (GWF
                 8                                             Plaintiff(s),                      ORDER
                 9              v.
               10        ADAM MANUEL YOUNASSOGHLOU,
               11                                            Defendant(s).
               12
               13              Presently before the court is defendant Adam Younassoghlou’s motion to expedite
               14       sentencing. (ECF No. 232).
               15              As the court noted in its prior order on the same issue, (ECF No. 221), defendant is
               16       represented by counsel, and thus defendant is not authorized to file motions pro se.
               17              Defendant attempts to categorize his filing with the court as a “written correspondence (no
               18       per [sic] se motion).” (ECF No. 232). Regardless of how the court categorizes the filing, defendant
               19       cannot directly file a request for expedited sentencing, as he is represented by counsel.
               20              Accordingly,
               21              IT IS HEREBY ORDERED that defendant’s motion to expedite sentencing (ECF No. 232)
               22       be, and the same hereby is, DENIED.
               23              DATED December 13, 2017.
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               25                                                     UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
